82 F.3d 412
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Larry S. WILLIAMS-EL, Plaintiff-Appellant,v.James DUNNING, Sheriff, Alexandria Detention Center;Richard R. Ruscak, Undersheriff, Alexandria DetentionCenter;  Debra L. Pierson, Captain of Security, AlexandriaDetention Center;  John L. Griggs, Captain for InmateService, Alexandria Detention Center;  Sergeant Reynolds,Watch Commander (A-1), Alexandria Detention Center;  DeputyJacobson (A-1), Alexandria Detention Center, Defendants-Appellees,andC.S. Chapman, Deputy, (A-1), Alexandria Detention Center;Edward Murray, Director for the Department ofCorrections, Defendants.
    No. 95-7837.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 21, 1996.Decided April 10, 1996.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.   Robert E. Payne, District Judge.  (CA-93-698-N)
      Larry S. Williams-El, Appellant Pro Se.  Jack L. Gould, Fairfax, Virginia, for Appellees.
      Before NIEMEYER and MICHAEL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant noted this appeal outside the thirty-day appeal period established by Fed.  R.App. P. 4(a)(1), failed to obtain an extension of the appeal period within the additional thirty-day period provided by Fed.  R.App. P. 4(a)(5), and is not entitled to relief under Fed.  R.App. P. 4(a)(6).   The time periods established by Fed.  R.App. P. 4 are "mandatory and jurisdictional."  Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).   The district court entered its order on Oct. 4, 1995;  Appellant's notice of appeal was filed on Nov. 15, 1995.   Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this court of jurisdiction to consider this case.   We therefore dismiss the appeal.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    